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                      10       Receivable Fund, LP

                      11
                                                     UNITED STATES BANKRUPTCY COURT
                      12
                                                               DISTRICT OF NEVADA
                      13

                      14      In re:
                                                                             Case No.: 21-14486-abl
                      15      INFINITY CAPITAL MANAGEMENT, INC.              Chapter 7
                      16                       Debtor.                       Adversary Case No. 21-01167-abl
                      17
                                                                             DEFENDANT’S EX PARTE MOTION
                              HASELECT-MEDICAL     RECEIVABLES               TO EXCEED PAGE LIMIT
                      18
                              LITIGATION     FINANCE      FUND               FOR REPLY TO PLAINTIFF
                      19      INTERNATIONAL SP,                              HASELECT-MEDICAL
                                                                             RECEIVABLES LITIGATION
                      20                       Plaintiff,
                                                                             FINANCE FUND INTERNATIONAL
                      21      v.                                             SP’S OPPOSITION TO TECUMSEH-
                                                                             INFINITY MEDICAL RECEIVABLE
                      22      TECUMSEH-INFINITY                  MEDICAL     FUND, LP’S MOTION FOR
                              RECEIVABLES FUND, LP,                          PARTIAL SUMMARY JUDGMENT
                      23                                                     AS TO CERTAIN DISPUTED
                                               Defendant.                    RECEIVABLES
                      24

                      25
                              TECUMSEH-INFINITY                  MEDICAL
                      26      RECEIVABLES FUND, LP,                          Date: Ex Parte
                                                                             Time: Ex Parte
                      27                       Counter-Claimant,
                      28
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                        1     v.
                        2     HASELECT-MEDICAL     RECEIVABLES
                              LITIGATION     FINANCE      FUND
                        3     INTERNATIONAL SP,
                        4
                                                 Counter-Defendant.
                        5

                        6     HASELECT-MEDICAL     RECEIVABLES
                              LITIGATION     FINANCE      FUND
                        7     INTERNATIONAL SP,
                        8                        Counter-Claimant
                        9
                              v.
                      10
                              TECUMSEH-INFINITY                    MEDICAL
                      11      RECEIVABLES FUND, LP,

                      12                         Counter-Defendant.
                      13
                                     Tecumseh–Infinity Medical Receivable Fund, LP (“Tecumseh”), through counsel of
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                              record, GARMAN TURNER GORDON LLP, submits this Ex Parte Motion To Exceed Page Limit
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                              for Reply (the “Reply”) to HASelect-Medical Receivables Litigation Finance Fund International
                      16
                              SP’s (“HASelect”) Opposition (“Opposition”) [ECF No. 122] to Motion for Partial Summary
                      17
                              Judgment as to Direct Purchase Receivables [ECF No. 90] (the “MPSJ”). This Motion is made and
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                              based upon Local Rule 9014(e) and the pleadings and papers on file in this case.
                      19
                                     Good cause exists to extend the page limit for the Reply. The MPSJ involves a dispute
                      20
                              regarding 4,190 medical receivables with a collective face amount in excess of $19 million.
                      21
                              Tecumseh attached exhibits to the Motion establishing the nature of the receivables and its
                      22
                              entitlement to partial summary judgment. In preparing its response to the MPSJ, HASelect sought
                      23
                              and obtained leave of Court—based upon representations of the case’s complexity—to exceed the
                      24
                              page limit for its Opposition, ultimately filing a thirty-five-page brief (excluding exhibits). [ECF
                      25
                              No. 127]. Additionally, HASelect proffered the declarations of Bart Larsen and Michael Griffin
                      26
                              (“Declarations”) in support of the Opposition.
                      27
                                     As addressed in the Reply, the scope of the Opposition and Declarations far exceeds the
                      28
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                        1     issues Tecumseh raised in the MPSJ. This includes HASelect’s assertion of allegations that are

                        2     neither supported, genuine, nor material.

                        3            Adequately addressing the substantive issues within the contemplation of the MPSJ and

                        4     the immateriality of the extraneous factual issues HASelect raised in the thirty-five-page

                        5     Opposition will require Tecumseh to exceed the 15-page limit for the Reply permitted by Local

                        6     Rule 9014(e)(1). Accordingly, Tecumseh requests leave to file its Reply with no more than 25

                        7     pages of legal and factual analysis and argument, excluding the case caption and certification of

                        8     mailing.

                        9            Based on the foregoing, Tecumseh respectfully requests that the Court enter an order in

                      10      substantially the same form as the proposed order attached hereto as Exhibit 1 granting Tecumseh

                      11      leave, pursuant to Local Rule 9014(e)(1), to file their Reply with no more than 25 pages of legal

                      12      and factual analysis and argument.

                      13             Dated this 21st day of October, 2022.

                      14                                                     Respectfully submitted,
                      15                                                     GARMAN TURNER GORDON LLP
                      16                                                     By: /s/ Jared M. Sechrist
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               EXHIBIT 1




              EXHIBIT 1
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                        5

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                        7

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                      17       Receivable Fund, LP

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                      21      In re:
                                                                             Case No.: 21-14486-abl
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                      23                       Debtor.                       Adversary Case No. 21-01167-abl
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                                                                             DEFENDANT’S EX PARTE MOTION
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                                                                             RECEIVABLES LITIGATION
                      27                       Plaintiff,
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                        1     v.                                                SP’S OPPOSITION TO TECUMSEH-
                                                                                INFINITY MEDICAL RECEIVABLE
                        2     TECUMSEH-INFINITY                  MEDICAL        FUND, LP’S MOTION FOR
                              RECEIVABLES FUND, LP,                             PARTIAL SUMMARY JUDGMENT
                        3
                                                                                AS TO CERTAIN DISPUTED
                                                Defendant.                      RECEIVABLES
                        4

                        5
                              TECUMSEH-INFINITY                  MEDICAL
                        6     RECEIVABLES FUND, LP,                             Date: ExParte
                        7                                                       Time: ExParte
                                                Counter-Claimant,
                        8     v.
                        9     HASELECT-MEDICAL     RECEIVABLES
                      10      LITIGATION     FINANCE      FUND
                              INTERNATIONAL SP,
                      11
                                                Counter-Defendant.
                      12

                      13      HASELECT-MEDICAL     RECEIVABLES
                              LITIGATION     FINANCE      FUND
                      14
                              INTERNATIONAL SP,
                      15
                                                Counter-Claimant
                      16
                              v.
                      17
                              TECUMSEH-INFINITY                  MEDICAL
                      18      RECEIVABLES FUND, LP,
                      19                        Counter-Defendant.
                      20

                      21             The Court having considered Tecumseh–Infinity Medical Receivable Fund LP’s Ex Parte

                      22      Motion to Exceed Page Limit for Reply to Plaintiff HASelect-Medical Receivables Litigation

                      23      Fund International SP’s Opposition to Motion for Partial Summary Judgment as to Direct Purchase

                      24

                      25      …

                      26      …

                      27      …

                      28      …
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                        1     Receivables 1 (the “ExParte Motion”), and good cause appearing therefore:

                        2            IT IS HEREBY ORDERED that the Ex Parte Motion is GRANTED, and Tecumseh may

                        3     file its Reply to Opposition in excess of the page limits in LR 9014(e) to include a maximum of

                        4     up to twenty-five (25) pages of factual and legal analysis and arguments.

                        5            IT IS SO ORDERED.

                        6     PREPARED AND SUBMITTED:

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                      27      1
                                All capitalized terms take on the meaning ascribed to them in the Motion, unless otherwise
                      28      defined herein.
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